Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 1 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 2 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 3 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 4 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 5 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 6 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 7 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 8 of 9
Case 09-37964-bjh13 Doc 22 Filed 12/22/09   Entered 12/22/09 11:17:31   Page 9 of 9
